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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
Prison Legal News
Plaintiff,
Vv. Case Number: 1:05-cv-01812-RBW

Harley G. Lappin,

Defendant.

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DECLARATION OF KAREN SUMMERS

|, Karen Summers, do hereby declare and state the following:
1. lama Paralegal Specialist for the Federal Bureau of Prisons (Bureau), South
Central Regional Office (SCRO) in Dallas, Texas. In this position, my responsibilities
include maintaining statistical information for litigation matters handled by Legal staff of
the South Central Region. In accordance with these duties, | have access to file and
database information for litigation matters and, as necessary, | have access to
administrative claim files. This declaration is based upon my personal knowledge of the
search conducted in the SCRO for Bureau records responsive to a FOIA request filed
by Prison Legal News (PLN), and supplements my prior declaration dated October 16,

2008.

2. This request sought copies of all documents showing money paid by the Bureau

for lawsuits and claims against it from the dates of January 1, 1996, through and
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including July 31, 2003, excluding inmate personal property. In September 2006, | was
contacted by Wilson Moorer, FOIA Paralegal Specialist, from the FOIA/PA Section of

the Bureau’s Central Office, to search for records in response to the PLN request.

3. The responsive records maintained by the SCRO consisted of documents from
litigation and administrative claim files. The administrative claim files included claims
filed pursuant to the Federal Tort Claims Act, the Military and Civilian Employees
Claims Act, and the Bureau of Prisons Claims Act. No other sought records were

maintained by this office.

4. For the time period in question, the official Bureau record for litigation and

administrative claim files were kept in paper format.

5. In order to determine what litigation records existed in response to this request, |
worked with staff to develop a list of litigation cases in which the Bureau paid money
damages and/or attorney’s fees to litigants or claimants from January 1, 1996, thru
July 31, 2003. The list was generated through use of the monthly reports, maintained
on-site at the SCRO, which reflect litigation cases in which a settlement or judgment
occurred. Specifically, the monthly reports contain a section entitled, Cases with

Settlement or Awards, and this section of each monthly report was manually reviewed

to develop the list in which the Bureau paid money damages and/or attorney's fees to
litigants or claimants for the relevant time period. In order to ensure the completeness

of this list, we also utilized available litigation database information. This information,
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which was in the then used Law Pack litigation database, was unable to be solely relied
upon to generate the needed list. Use of the Law Pack litigation database had minimal
implementation in the SCRO and was primarily maintained by the office’s incumbent in
the legal intern position. The database was generally utilized to enter new cases with
basic information, i.e., party names, case type, etc., and no additional information was
added except to close a case where just a closing document date was entered. The
legal intern reviewed the Law Pack litigation database in an attempt to supplement the
information contained from the monthly report review. | am unable, however, to identify
the manner in which the legal intern reviewed the Law Pack litigation database. | am
not aware of any additional responsive documents obtained as a result of the legal
intern’s review. The database information was reviewed in the unlikely event that it
contained a case with a settlement or award that was not listed in one of the monthly
‘reports for the applicable time period. To the best of my knowledge and belief, the
monthly reports and database information reflect all litigation as defined in paragraph
two. From the list, SCRO litigation files with responsive records were copied to a CD-
ROM and forwarded to Wilson Moorer, FOIA Paralegal Specialist, at the FOIA/PA

Section in the Bureau’s Central Office.

6. Inorder to determine what administrative claim records existed in response to the
request, | worked with other staff to develop a list of administrative claim files which
may have had information responsive to the PLN request. Specifically, the Tort
Information Management System (TIMS) program, which was utilized by the Bureau

from 1992 until October 1999, and the Lawpack database, containing information from
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November 1999 until October 2007, were searched. These electronic file systems were
used for FTCA, CECA, and BOPCA claims, but were unable to provide a reliable list of
claims actually paid. Accordingly, the databases were used to generate a list of
administrative claim files where settlement offers were made. This was accomplished
by reviewing database fields reflecting claim disposition. Specifically, we reviewed this
database field for claims that were indicated as having been paid or were otherwise
inconclusive by simply reflecting a settlement offer had been made without revealing
whether that settlement had been accepted. SCRO legal staff contacted institution
financial management staff to determine whether the claims that were inconclusive as
to disposition had been paid and had institution staff forward settlement documentation
for those claims that had been paid. The responsive administrative claim records,
including the contemporaneously collected financial records, were copied to a CD-ROM
and forwarded to Mr. Moorer, as noted in paragraphs 2 and 5. To the best of my
knowledge and belief, the administrative claim records forwarded to Mr. Moorer
constituted all of the FTCA, CECA and BOPCA records that were responsive to the

PLN request.

7. lalso contributed to efforts to find litigation files that were not in their expected
location. A total of three such litigation files that were identified as possibly containing
responsive documents were unable to be located. It appears two of these three files
were destroyed as a result of water damage which occurred prior to the filing of the

subject FOIA request.
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Pursuant to Title 28 U.S.C. § 1746, | certify under penalty of perjury that the
foregoing is true and correct.

Executed this 17th day. of May_, 2010.

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Federal Bureau of Prisons
SouthCentral Regional Office
Dallas, Texas

